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                                                Certificate Number: 12459-FLS-CC-034152712


                                                               12459-FLS-CC-034152712




                    CERTIFICATE OF COUNSELING

I CERTIFY that on February 27, 2020, at 5:26 o'clock PM PST, Miguel Bolivar
received from Abacus Credit Counseling, an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the Southern District of Florida, an
individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   February 27, 2020                       By:      /s/Hokulani Kabaka


                                                Name: Hokulani Kabaka


                                                Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
